Case 3:23-cv-04155-YGR Document 10-19 Filed 08/17/23 Page 1 of 6
      Case 3:23-cv-04155-YGR Document 10-19 Filed 08/17/23 Page 2 of 6




 1         I, Y       H           M        , declare:
 2         1.     I have personal knowledge of the facts set forth herein, and if called as a
 3 witness, I could and would competently so testify. I make this declaration in support
 4 Plaintiffs' Motions for Preliminary Injunction and Provisional Class Certification.
 5         2.     I have been incarcerated at FCI Dublin since March 2012. My release date is
 6 in November 2026, and in the future BOP may transfer me to other BOP facilities, but at
 7 any point I could be transferred back to FCI Dublin.
 8         3.     FCI Dublin’s inadequate systems for preventing, detecting, and responding
 9 to sexual abuse have caused actual harm to myself and others incarcerated at FCI Dublin
10 and put myself and other incarcerated persons at substantial risk of serious harm from
11 sexual assault, harassment, and retaliation from staff.
12         4.     Three of my friends at FCI Dublin who have since been released were
13 sexually abused by former warden Ray Garcia. All three of my friends talked to me about
14 their abuse while it was happening. I also witnessed Ray Garcia interact with all three of
15 them on the yard and in the dorm. I saw Mr. Garcia touch these women on their backs,
16 shoulders, and legs in plain view of other staff and incarcerated people. Around December
17 2021, I sent a “cop out” or message to Counselor Tess Korth saying that I wanted to report
18 Mr. Garcia for sexually abusing my friend. Ms. Korth told me that she would speak to me
19 about it, but shortly thereafter she stopped working at the prison. My friend was deported
20 to Mexico in January 2022.
21         5.     I also witnessed abuse by former Officer Smith who worked at FCI Dublin
22 for many years. Officer Smith worked in my housing unit and was well known as a sexual
23 abuser. The entire prison, including incarcerated people and staff, referred to him as “Dirty
24 Dick Smith.” Officer Smith would touch incarcerated women inappropriately and make
25 sexual comments constantly. He brought women who lived in my housing unit lingerie and
26 bikinis to wear for him. Multiple incarcerated women told me that they engaged in sex acts
27 with Officer Smith, including two of my former cellmates. Multiple times, Officer Smith
28 came to the cell that my roommate and I lived in and ordered me to leave the cell. He
                                           1
     DECLARATION OF Y       H          M         IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
               PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
      Case 3:23-cv-04155-YGR Document 10-19 Filed 08/17/23 Page 3 of 6




 1 would stay in the cell alone with my roommate. Officer Smith told me not to tell anyone
 2 about his relationship with my roommate. Officer Smith told me that he knew that my son
 3 was in federal prison, and that if I reported Officer Smith, my son would get hurt.
 4          6.    When I arrived at FCI Dublin in March 2012 I was not taught about PREA
 5 or sexual abuse in prison. I don’t remember receiving a training, watching a video, or
 6 receiving any written materials. I don’t remember ever being taught how to report staff
 7 abuse.
 8          7.    There is no effective way to confidentially report sexual assault and abuse by
 9 staff at FCI Dublin. Most people incarcerated at FCI Dublin do not trust the staff here,
10 because it’s well known that they protect one another and do not keep what we tell them
11 confidential. When incarcerated persons do report sexual assault and abuse by staff, FCI
12 Dublin and BOP do not seriously investigate the reports. Investigations are frequently
13 delayed and overseen by staff who know and work with the offending staff member. I
14 tried to report Mr. Garcia for sexually abusing my friend in a message to Ms. Korth, but
15 never received any response. I did not report what I witnessed to SIS, because I do not
16 trust SIS staff. SIS Lieutenant Putnam has worked at the prison for years, and I know many
17 people who reported staff misconduct to him, and nothing was done. Another friend of
18 mine in the dorm reported Officer Smith for sexually harassing her, and he was briefly
19 taken out of our dorm, but then he came back and did not suffer any consequences.
20          8.    Staff at FCI Dublin also prevent people from reporting sexual assault and
21 abuse by staff and retaliate against people who do report. For example, Officer Smith
22 threatened to hurt my son if I reported him.
23          9.    There is little to no medical and mental healthcare for survivors of abuse at
24 FCI Dublin. The medical and mental healthcare at the prison is generally terrible. It takes
25 months to get seen by medical staff, if you are seen at all. I had surgery in March of last
26 year, and I did not receive the follow up appointments that I was supposed to, or the
27 medications that were prescribed to me at the hospital. A friend of mine who was sexually
28 assaulted by a guard has been suffering psychologically for months. She is not getting
                                           2
     DECLARATION OF Y       H          M         IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
               PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
      Case 3:23-cv-04155-YGR Document 10-19 Filed 08/17/23 Page 4 of 6




 1 medication or therapy, and she recently cut herself many times. I am very worried for her.
 2 I have experienced anxiety because of the abuse and retaliation at this facility, but I do not
 3 want to speak with the psychology staff because I do not trust them. Several medical staff
 4 were walked off for sexually assaulting women, and medical staff do not keep what we tell
 5 them confidential.
 6         10.    There are some cameras installed in fixed locations in the facility, but it is
 7 well known that there are no cameras in many areas, including the recreation yard.
 8 ///
 9 ///
10 / / /
11 / / /
12 / / /
13 / / /
14 / / /
15 / / /
16 / / /
17 / / /
18 / / /
19 / / /
20 / / /
21 / / /
22 / / /
23 / / /
24 / / /
25 / / /
26 / / /
27 / / /
28 / / /
                                           3
     DECLARATION OF Y       H          M         IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
               PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
Case 3:23-cv-04155-YGR Document 10-19 Filed 08/17/23 Page 5 of 6
       Case 3:23-cv-04155-YGR Document 10-19 Filed 08/17/23 Page 6 of 6




                              CERTIFICATE OF TRANSLATION

I, Susan Beaty, am competent to translate from Spanish to English. I certify that I read back the
foregoing statement to Y         H           M        in the Spanish language, that
the translation was true and accurate to the best of my abilities, and that she understood it before
signing.



August 15, 2023                                               _____________________________
